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uu Wo In support of this application, mins
"Yes" state the place of yoor Soper pet a end
WY employed at the institution? you st td —
oi WN sana edges dec ror the nton) of your iacaceaion sharing mouths
, ”
, . amswer nye salary or wages and pay period ame gtvsthe name
° 1 Bs ax "Yes," state the amount of your take-ome he *
. mo . of . «
* Loyh ithe answers "No," sat the ate of your at emEao th acosat a
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Bn fuk ls fa es profession he ni cachet 0 Yes Erte
‘ L. ‘8 Tnfereat or dividends Oye 2ENo ine
Us Pensiogs, annuities or life insurance payments Ne ae
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he Ry As te, aay oder soctess OYes yo . au
oe to any of the above is “Yes” on the following page, each source of money
If the ansvrer describe,

hy Pater? ” crn received and what you expect yoxt will contin to receive be yy

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) UNITED STATES DISTRICT COURT

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YW AY WN AUG 11 2008
GREGORY C. LANGHAM

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4, Doyo sanyo Lang te L ON

if “Yes,” state the total amount. ee AGE
5. Do you own any real estate, stocks, bonds, securities, other financial instruments, automobiles or any other

thing of value? O Yes me
If “Yes,” describe the property and state its value.

me, - List the persons who 0 are dependent on you for support, state your relationship to each person and indicate
how mu uch you ur contribute to their support.

Op hidwke Baily The Rs) vied
ow declare under penalty of perjury that the above information is trae and correct.
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notice 10 : ew US QhIenr 64
CE TO PRISONER: A Prisoner si gf to.proceed without prepayment of fees shall submit an affidavit
a statement certified by the appropriate institutional officer

stating all assets. In addition, a prisoner
(») showing all receipts, expenditures, and
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account.

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e last six months in your institutional accounts. If you have
in multiple institutions, te ceifed . of each

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